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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

COLONY INSURANCE COMPANY,                       §
                                                §
                      Plaintiff,                §
                                                §
VS.                                             §     CIVIL ACTION NO. H-09-3830
                                                §
THEOLA ROBINSON, et al.,                        §
                                                §
                      Defendants.               §


                           FINAL DECLARATORY JUDGMENT

       In accordance with the Memorandum and Opinion entered on September 8, 2010, this court

enters a declaratory judgment that Colony Insurance Co. owes no duty to defend or indemnify

Theola Robinson dba Benji Charter School, Benji’s Special Education Academy Independent

School District, and Benji’s Special Education Academy for any claims asserted or liability arising

from Lavera A. Fransau Templeton, individually and anf of T.L.K. and D.K., minor children, v.

Verna Elaine Samuels, Benji’s Special Educational Academy aka BSEA ISD aka Benji’s Academy,

Inc., Benji’s Special Educational Academy Independent School District, and the City of Houston,

Cause No. 2009-60349, pending in the 151st Judicial District of Harris County, Texas.

       This is a final judgment.

               SIGNED on September 8, 2010, at Houston, Texas.


                                                    ______________________________________
                                                             Lee H. Rosenthal
                                                       United States District Judge
